RP 11/13/2023 AIH
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                      08/31/2023
                                   23-CV-5935

                       RACHEL P. KOVNER

                       TERRENCE WISE                       THE CITY OF NEW YORK



                     TERRENCE WISE
    Case
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RECEIVED IN PROSE OFFICE                UNITED STATES DISTRICT COURT "l)                                 V           ^
                                        EASTERN DISTRICT OF NEW YORK                           VcsU/v-i OoE
    AU6 3 1 2023
                                        PRISONER AUTHORIZATION '^                                       /-22.
                                                                                                          2^
                       "T^n o_                  s \ \ C.Z—                                 , cTt»
                                                                                                 ^»oc5t^ VicJb"?-
     Case Name;          ifc^nnVnMCg                             vs.        \Ot\      Oog p Jis- ~
                        (Enterfull name ofplamtiff(s))             (Enter
                                                                      . fir ll name ofyj./-
                                                                                       defendarit(s))
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     Docket Number:             ^          -cv- !ry?5^(
                                (Enter the docket number ifavailable; iffiling with your complaint, leave blank)

                  The Prison Litigation Reform Act("PLRA"or"Act")amended the informapauperis statute
     (28 U.S.C.§ 1915)and applies to your case. Under the PLRA,you are required to pay the full filing
     fee when bringing a civil action if you are currently incarcerated or detained in any facility. If you
     do not have sufficient funds in your prison accoimt at the time your action is filed, the Court must
     assess and collect payments until the entire filing fee of$350 has been paid, no matter what the
      outcome of the action.


     SIGN AND DATE THE FOLLOWING AUTHORIZATION:

                                                                                           (print or type your name).
     request and authorize          facifity institution or agency holding me in custody to send to the Clerk of
     the United States District Court for the Eastern District ofNew York,or,ifthis matter is transferred
     to another district           tn     r.lprk oftb^ transferee court, a certified copy of my prison account
      statement for the past six months. I further request and authorize the facility or agency holding me
      in custody to calculate the amounts specified by 28 U.S.C.§ 1915(b),to deduct those amounts from
      my prison trust fund accoimt (or institutional equivalent), and to disburse those amounts to the
      United States District Court for the Eastern District ofNew York. This authorization shall apply to
      any facility or zigency into whose custody 1 may be transferred, and to any other district court to
      which ray case may be transferred and by which my informapauperis application may be decided.
      I UNDERSTAND-THAT-BY-^€M^G AND RETURNING THIS NOTICE TO THE
      COURT, THE ENTIRE COURT FILING FEE OF $350 WILL BE PAH) IN
      INSTALLMENTS BY AUTOMATIC DEDUCTIONS FROM MY PRISON TRUST FUND
      ACCOUNT EVEN IF MY CASE IS DISMISSED.



                                                                                        'Z9/^3
      Signature ofJ laintiff                                                 Date



      Prisoner l.D. Number(s)                  '?^C,97aS /r.
      Name of Current Facility                tfPC
      rev. 2/11
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